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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

SHEILA McCOY, Individually and on PLAINTIFF
Behalf of All Others Similarly Situated

vs. No. 5:20-cv-5176-PKH
ELKHART PRODUCTS CORPORATION DEFENDANT
ORIGINAL COMPLAINT—COLLECTIVE ACTION

COMES NOW Plaintiff Sheila McCoy (“Plaintiff”), individually and on behalf of all
others similarly situated, by and through her attorneys Blake Hoyt and Josh Sanford of
Sanford Law Firm, PLLC, and for her Original Complaint—Coilective Action (“Complaint”)
against Defendant Elkhart Products Corporation (“Defendant”), she states and alleges as
follows:

I. PRELIMINARY STATEMENTS

1 This is a collective action brought by Plaintiff, individually and on behalf of
all others similarly situated, against Defendant for violations of the overtime provisions of
the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (the “FLSA”), and the overtime
provisions of the Arkansas Minimum Wage Act, Ark. Code Ann. § 11-4-201, ef seq. (the
“AMWA’).

2. Plaintiff seeks a declaratory judgment, monetary damages, liquidated
damages, prejudgment interest, and a reasonable attorney's fee and costs as a result of

Defendant's failure to pay proper overtime compensation under the FLSA and the AMWA.

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Il. JURISDICTION AND VENUE

3. The United States District Court for the Western District of Arkansas has
subject matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331 because
this suit raises federal questions under the FLSA.

4. This Complaint also alleges AMWA violations, which arise out of the same
set of operative facts as the federal cause of action; accordingly, this Court has
supplemental jurisdiction over Plaintiff's AMWA claims pursuant to 28 U.S.C. § 1367(a).

5. Defendant employed Plaintiff at its facilities located within the Fayetteville
Division of the Western District of Arkansas; therefore, venue is proper within this District
pursuant to 28 U.S.C. § 1391.

ll. §$THE PARTIES

6. Plaintiff is an individual and resident of Washington County.
7. Defendant is a foreign, for-profit corporation.
8. Defendant's registered agent for service is The Corporation Company, 425

West Capitol Avenue, Little Rock, Arkansas 72201.
9, Defendant maintains a website at http:/Avww.elkhartproducts.com/.
IV. FACTUAL ALLEGATIONS
10. Plaintiff repeats and re-aileges all the preceding paragraphs of this
Complaint as if fully set forth in this section.
11. | Within the three years preceding the filing of this Complaint, Defendant has

continuously employed at least four employees.

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12. Defendant employs two or more individuals who engage in interstate
commerce or business transactions, or who produce gocds to be transported or sold in
interstate commerce, or who handle, sell, or otherwise work with goods or materials that
have been moved in or produced for interstate commerce, such as Apollopress fittings,
Tectite fittings, flanges, couplings, elbows and adapters of multiple varieties.

13. Defendant's annual gross volume of sales made or business done is not
less than $500,000.00 (exclusive of excise taxes at the retail level that are separately
stated} in each of the three years preceding the filing of the Original Complaint.

14. Defendant manufactures screw machine products, various copper and
aluminum tubular components, and tube fittings for the plumbing, air conditioning and
refrigeration industries.

15. At all times material herein, Plaintiff has been entitled to the rights,
protections, and benefits provided under the FLSA.

16. Defendant employed Plaintiff as an hourly-paid employee from January of
2020 to September of 2020.

17. Plaintiff was employed in the rotary department.

18. Defendant also employed other hourly-paid employees in the packing
department, at the mill, in the prototype department and other departments, within the
three years preceding the filing of this lawsuit.

19. At all times material herein, Plaintiff has been classified by Defendant as
non-exempt from the overtime requirements of the FLSA, 29 U.S.C. § 207, and the

AMWA, A.C.A. § 11-4-211.

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20. Atall relevant times herein, Defendant directly hired hourly-paid employees
to work on its behalf, paid them wages and benefits, controlled their work schedules,
duties, protocols, applications, assignments and employment conditions, and kept at least
some records regarding their employment.

21. Other hourly-paid employees had similar duties as Plaintiff, which consisted
of operating the machinery within the facility.

22. Plaintiff and other hourly-paid employees recorded their hours worked via
an electronic time clock, which logged their hours into a payroll system maintained by
Defendant.

23. The factory where Plaintiff worked had three separate shifts.

24. Plaintiff worked the day shift.

25. Plaintiff's schedule on the day shift was to work from 7:00 AM to 3:30 PM.

26. _—~ Plaintiff's duties sometimes required her to clock in before 7:00 AM or clock
out after 3:30 PM.

27. Plaintiff sometimes worked as many as sixty hours per week.

28. Regardless of how many hours Plaintiff worked in a week, Defendant
consistently adjusted Plaintiff's hours to reflect only forty hours worked each week.

29. Upon information and belief, other hourly employees also regularly or
occasionally worked over forty hours in a week.

30. Upon information and belief, other hourly employees’ hours were also

adjusted to reflect only forty hours worked per week.

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31. Because Plaintiff and other hourly-paid employees worked hours which
went uncompensated, Defendant failed to pay Plaintiff and other hourly-paid employees
a jawtul overtime premium for all hours worked over forty each week.

32. Defendant knew or should have known that Plaintiff and other hourly-paid
employees were working hours off the clock for which they were not compensated.

33. Payroll information was processed through Defendant’s headquarters
located in Elkhart, Indiana.

34. Upon information and belief, Defendant's time shaving policies were the
same at all of its locations.

35. At all relevant times herein, Defendant has deprived Plaintiff and similarly
situated employees of proper overtime compensation for all of the hours worked over forty
(40) per week.

36. Defendant knew or showed reckless disregard for whether its actions
violated the FLSA.

Vv. REPRESENTATIVE ACTION ALLEGATIONS

37. Plaintiff repeats and re-alleges all previous paragraphs of this Complaint as
though fully incorporated in this section.

38. Plaintiff brings this claim for relief for violation of the FLSA as a collective
action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of all persons
similarly situated as hourly-paid employees who were, are, or will be employed by
Defendant within the applicable statute of limitations period, who are entitled to payment

of the following types of damages:

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A. Regular wages and overtime premiums for all hours worked over forty (40)
hours in any week;

B. Liquidated damages; and

C. Attorney’s fees and costs.

39. Plaintiff proposes the following class under the FLSA:

All hourly-paid production facility employees
within the past three years.

40. In conformity with the requirements of FLSA Section 16(b), Plaintiff has filed
or will soon file a written Consent to Join this lawsuit.

41. The relevant time period dates back three years from the date on which
Plaintiff's Original Complaint—Collective Action was filed herein and continues forward
through the date of judgment pursuant to 29 U.S.C. § 255(a), except as set forth herein
below.

42. The members of the proposed FLSA class are similarly situated in that they
share these traits:

A. They were paid hourly;

B. They had substantially similar job duties and responsibilities; and

C. They were subject to Defendant's common policy of shaving employees’
hours.

43. Plaintiff is unable to state the exact number of the collective but believes
that the collective exceeds one hundred and fifty (150) persons.

44. Defendant can readily identify the members of the collective, who are a
certain portion of the current and former employees of Defendant.

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45. The names and physical and mailing addresses of the probable FLSA
collective action plaintiffs are available from Defendant.

46. The email addresses of many of the probable FLSA collective action
plaintiffs are available from Defendant.

Vi. FIRST CLAIM FOR RELIEF
(Individual Claim for Violation of the FLSA)

47. Plaintiff repeats and re-alleges all previous paragraphs of this Complaint as
though fully set forth herein.

48. Plaintiff asserts this claim for damages and declaratory relief pursuant to
the FLSA, 29 U.S.C. § 201, et seq.

49. At all relevant times, Defendant has been, and continues to be, an
enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 203.

50. 290U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to
pay a minimum wage for all hours worked up to forty (40) in one week and to pay one
and one-half times their regular wages for all hours worked over forty (40), unless an
employee meets certain exemption requirements of 29 U.S.C. § 213 and all
accompanying DOL regulations.

51. Defendant classified Plaintiff as non-exempt from the requirements of the
FLSA.

52. Defendant failed to pay Plaintiff for all hours worked, including one and one-
half times her regular rate for all hours worked in excess of forty hours per week.

53. Defendant knew or should have known that its actions violated the FLSA.

54. Defendant's conduct and practices, as described above, were willful.

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55. By reason of the unlawful acts alleged herein, Defendant is liable to Plaintiff
for monetary damages, liquidated damages and costs, including reasonable attorney's
fees provided by the FLSA for all violations which occurred beginning at least three (3)
years preceding the filing of Plaintiff's initial complaint, plus periods of equitable tolling.

56. Defendant has not acted in good faith nor with reasonable grounds to
believe its actions and omissions were not a violation of the FLSA, and, as a result thereof,
Plaintiff is entitled to recover an award of liquidated damages in an amount equal to the
amount of unpaid minimum wage and unpaid overtime premium pay described above
pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b).

57. Alternatively, should the Court find that Defendant acted in good faith in
failing to pay Plaintiff as provided by the FLSA, Plaintiff is entitled to an award of
prejudgment interest at the applicable legal rate.

Vil. SECOND CLAIM FOR RELIEF
(Collective Action Claim for Violation of the FLSA)

58. _‘— Plaintiff repeats and re-alleges all previous paragraphs of this Complaint as
though fully set forth herein.

59. _— Plaintiff asserts this claim for damages and declaratory relief on behalf of all
similarly situated employees pursuant to the FLSA, 29 U.S.C. § 201, et seq.

60. At all relevant times, Defendant has been, and continues to be, an
enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 203.

61. 29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to
pay all employees a minimum wage for all hours worked up to forty (40) in one week and
to pay one and one-half times their regular wages for all hours worked over forty (40) in

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a week, unless an employee meets certain exemption requirements of 29 U.S.C. § 213
and all accompanying Department of Labor regulations.

62. Defendant classified Plaintiff and other similarly situated employees as non-
exempt from the overtime provisions of the FLSA.

63. Defendant failed to pay Plaintiff and similarly situated employees for all
hours worked, including one and one-half times their regular rate for all hours worked in
excess of forty hours per week.

64. Defendant deprived Plaintiff and similarly situated employees of
compensation for all of the hours worked over forty (40) per week, in violation of the FLSA.

65. Defendant knew or should have known that its actions violated the FLSA.

66. Defendant's conduct and practices, as described above, were willful.

6/7. Byreason of the unlawful acts alleged herein, Defendant is liable to Plaintiff
and all similarly situated employees for monetary damages, liquidated damages and
costs, including reasonable attorney's fees provided by the FLSA for all violations which
occurred beginning at least three (3) years preceding the filing of Plaintiff's initial
complaint, plus periods of equitable tolling.

68. Defendant has not acted in good faith nor with reasonable grounds to
believe its actions and omissions were noi a violation of the FLSA, and, as a result thereof,
Plaintiff and similarly situated employees are entitled to recover an award of liquidated
damages in an amount equal to the amount of unpaid overtime premium pay described

above pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b).

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69. Alternatively, should the Court find that Defendant acted in good faith in
failing to pay Plaintiff and the collective members as provided by the FLSA, they are
entitled to an award of prejudgment interest at the applicable legal rate.

Vill. THIRD CLAIM FOR RELIEF
(Individual Claim for Violation of the AMWA)

70. ‘Plaintiff repeats and re-alleges all previous paragraphs of this Complaint as
though fully set forth herein.

71. Plaintiff asserts this claim for damages and declaratory relief pursuant to
the AMWA, Ark. Code Ann. §§ 11-4-201, et seq.

72. At all relevant times, Defendant was Plaintiff's “employer’ within the
meaning of the AMWA, Ark. Code Ann. § 11-4-203(4).

73. Sections 210 and 211 of the AMWA require employers to pay all employees
a minimum wage for all hours worked, and to pay one and one-half times regular wages
for all hours worked over forty (40) hours in a week, unless an employee meets the
exemption requirements of 29 U.S.C. § 213 and accompanying Department of Labor
regulations.

74. Defendant classified Plaintiff as non-exempt from the requirements of
AMWA.

75. Defendant failed to pay Plaintiff for all hours worked, including overtime
wages as required under the AMWA for all hours that Plaintiff worked in excess of forty
(40) per week.

76. Defendant knew or should have known that its practices violated the AMWA.

77. Defendant's conduct and practices, as described above, were willful,
intentional, unreasonable, arbitrary, and in bad faith.

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78. Byreason of the unlawful acts alleged herein, Defendant is liable to Plaintiff
for, and Plaintiff seeks, monetary damages, liquidated damages, prejudgment interest,
and costs, including reasonable attorney’s fees as provided by the AMWA.

IX. PRAYER FOR RELIEF

WHEREFORE, premises considered, Plaintiff Sheila McCoy, individually and on
behalf of all others similarly situated, respectfully prays that Defendant be summoned to
appear and to answer this Complaint and for declaratory relief and damages as follows:

A. A declaratory judgment that Defendant's practices alleged in this Complaint
violate the FLSA, the AMWA, and their related regulations;

B. Certification of a collective under Section 216 of the FLSA of all individuals
similarly situated, as further defined in any motion for the same;

C. Judgment for damages suffered by Plaintiff and others similarly situated for
all unpaid overtime wages under the FLSA, the AMWA and their related regulations;

D. Judgment for liquidated damages owed to Plaintiff and all others similarly
situated pursuant to the FLSA, the AMWA, and their related regulations;

E. An order directing Defendant to pay Plaintiff and all others similarly situated
interest, a reasonable attorney's fee and all costs connected with this action; and

F, Such other and further relief as this Court may deem just and proper.

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Respectfully submitted,

PLAINTIFF SHEILA McCOY,
Individually and on Behalf of
All Others Similarly Situated

SANFORD LAW FIRM, PLLC

One Financial Center

650 South Shackleford Road, Suite 411
Little Rock, Arkansas 72211

Telephone: (800) 615-4946

Facsimile: (888) 787-2040

Blake Hoyt
Ark. Bar No. 29 4252

   

Bak No. 2001037
josh@sanfordlawfirm.com

 

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